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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:13CR73
       vs.                                 )
                                           )                      ORDER
JESSICA KRAFT,                             )
                                           )
                     Defendant.            )



       This matter is before the court on defendant's MOTION TO CONTINUE THE
MATTER BEYOND THE TIME-LINE FOR MOTIONS [56]. For good cause shown, I find
that the motion should be granted. The defendant will be given an approximate 70-day
extension. Pretrial Motions shall be filed by July 16, 2013.

       IT IS ORDERED:

      1.   Defendant's MOTION TO CONTINUE THE MATTER BEYOND THE TIME-
LINE FOR MOTIONS [56] is granted. Pretrial motions shall be filed on or before July 16,
2013.

       2.     The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
              regarding speedy trial as soon as practicable.

       3.       The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 7, 2013 and July 16,
2013, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 9th day of May, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
